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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



OPTUM, INC. and OPTUM SERVICES,
Inc. ,
         Plaintiffs,

              V .                                 C.A.   No.   19-10101-MLW


DAVID WILLIAM SMITH,
         Defendant.




                               MEMORANDUM AND ORDER


     WOLF,    D.J.                                             February 5, 2019



         This dispute arises out of defendant David William Smith's
departure from his former employer, Optum, Inc. and Optum Services,
Inc. ("Optum"),^ a health services business, and his employment at
a newly established firm, TCORP62018 LLC, which the parties refer
to as "ABC." ABC is an independent health care venture established
by Amazon, JPMorgan Chase & Co. and Berkshire Hathaway. In the
complaint filed January 16, 2019, Optum alleges that Smith breached
non-compete,          nondisclosure,    and   non-solicitation        covenants
contained in stock and stock option awards that were part of his
contract for employment with Optum. Optum also asserts that Smith
misappropriated          its    trade   secrets    in     violation    of     the




 ^ Optum is a subsidiary of UnitedHealth Group
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Massachusetts Uniform Trade Secrets Act, M.G.L. c.93 §§42-42G, and

the federal Defend Trade Secrets Act,            18 U.S.C. §1839(3).

         On January 16, 2019, Optum also filed a motion for a temporary

restraining order:           "(1)   prohibiting Smith from working for,         or

soliciting on behalf of,              ABC   so Optum may conduct         expedited

discovery so this Court can then hear and rule on a preliminary

injunction motion;           (2) barring Smith from using or disclosing
Optum's trade secrets or other confidential information; and (3)
requiring       Smith   to     return Optum's    property    and   information,
including devices where such information was stored." Docket No.

4   at   2.


         On January 22, 2019, Smith responded by filing a motion to

compel        arbitration      immediately,    asserting    that   all     of   the
temporary relief Optum seeks is subject to arbitration, including
the requests for a TRO and expedited discovery. Smith relies on an
Employment Arbitration Policy that was also part of his contract
for employment with Optum.               See UnitedHealth Group Employment
Arbitration Policy (Docket No. 17-1)             (the "Arbitration Policy").

The court then ordered Smith to respond to the motion for a TRO

and to address the implications of Teradyne Inc. v. Mostek Corp.,

797 F.2d 43, 51 (1st Cir. 1986), in which the First Circuit held

that the district court has authority to issue an injunction

pending arbitration required by a contract.
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     On January 22, 2019, Smith responded to the motion for a TRO.

On January 24,       2019,    he submitted a memorandum addressing the

implications of Teradyne.          On January 25,      2019,     Optum filed a

response to Smith's motion to compel arbitration and a reply to

his opposition to the motion for a TRO.

     In     response     to    Smith's    request   that   the    court   compel
arbitration immediately, rather than rule on Optum's motion for a

TRO, Optum argues that the parties' contract authorizes it to seek,
and the court to issue, a TRO maintaining the status quo before

requiring     that     the    dispute    be   submitted to     arbitration.    As
explained below, this contention is correct.

     The Arbitration Policy is a contract that requires covered

claims to be resolved through binding arbitration. See Docket No.

25-1 at 2 of 8. It applies to, among other things, "claims for

unfair competition and violations of trade secrets . . . ." Id.
Therefore, Optum's claims that Smith is violating his contractual
covenant not to compete, and his contractual and statutory duties

not to disclose or misuse its confidential information, must be

arbitrated. In addition, the Arbitration Policy provides that any

dispute concerning "its interpretation" or "arbitrability                     is a
covered claim to be resolved by arbitration. I^.

     However, the Arbitration Policy also states that:

             [T]his Policy does not preclude either an
             employee or [Optum] from seeking emergency or
             temporary injunctive relief in a court of law
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            in accordance with applicable law. However,
            after the court has issued a ruling concerning
            the emergency or temporary injunctive relief,
            the employee and [Optum] are required to
            submit the dispute to arbitration pursuant to
            this Policy.

Id. at 3 of 8 {emphasis added)

     Smith began his employment with Optum in 2016 and, therefore,

agreed to    the Arbitration Policy as part          of his    employment
contract.   Id.   at 2 of 8. As noted,    that contract provided that

Optum could request that a court issue temporary injunctive relief
in accordance with applicable law before submitting the dispute to

arbitration. The applicable law then included Ortho Pharmaceutical

Corp. V. Amgen,     Inc.,   882 F.2d 806 (3d.    Cir. 1989) . In 1989,
relying on the First Circuit decision interpreting Massachusetts
law in Teradyne Inc. v. Mostek Corp., 797 F.2d 43, 51 (1st Cir.

1986) , the Third Circuit in Ortho Pharmaceutical Corp. held that
the Federal Arbitration Act authorizes courts to issue temporary

Injunctive relief because "'the congressional desire to enforce
arbitration agreements would frequently be frustrated if the



2 The Arbitration Policy does not address what law governs its
interpretation. However, the stock and stock option awards that
create Smith's contractual obligations not to engage in certain
competition for one—year after leaving Optum and not to
misappropriate its confidential information are governed by
Delaware law. See e.g. Docket No. 1~1/ SI15. Therefore, the court
is applying Delaware law in its instant analysis. There is,
however, no material difference between the relevant Delaware and
Massachusetts law. Accordingly, the court is citing both.
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courts were precluded from issuing preliminary injunctive relief

to preserve the status quo pending arbitration and, ipso facto,

the meaningfulness of the arbitration process.'" 882 F.2d at 812

(quoting Teradyne, 797 F.2d at 51).

    More recently,     the First Circuit has explained that "even

where preliminary relief is for the arbitrator, a district court

retains power to grant an interim preliminary injunction, where

otherwise justified,    for the interval needed to resort to the

arbitrator — that is, for the period between the time the district

court orders arbitration and the time the arbitrator is set up and

able to offer interim relief itself." Next Step Med. Co. v. Johnson

& Johnson Int'l, 619 F.3d 67, 70 (1st Cir. 2010). The court expects

that the Third Circuit would agree with the reasoning of Next Step

as it agreed with the reasoning of Teradyne.

     Therefore,   both the express      language of the Arbitration

Policy, which is part of Smith's employment contract, and the
applicable law it incorporates provide this court the authority to
issue a temporary restraining order to maintain the status quo

pending arbitration to assure that the arbitrator will have the
ability to order the relief Optum seeks if persuaded that it is
justified.

     Nevertheless, Smith argues that the only injunction that the

court can order pursuant to the Arbitration Policy is an order
compelling arbitration. See Mem. in Supp. Def.'s Mot. to Compel
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Arb. (Docket No. 17) at 7. He asserts that: this contention creates

a dispute that requires "interpretation" of the contract;              the
Arbitration Policy requires that an arbitrator resolve any dispute

concerninq    the     "interpretation"      of    the    contract      and
"arbitrability"; and, therefore, the court must at least order

that the arbitrator resolve the dispute concerning whether the

court has the authority to decide Optum's motion for a TRO. This

argument is not meritorious.

     The Arbitration Policy is not ambiguous. Smith's disagreement

with the court's understanding of the plain meaning of the relevant

language does not create an ambiguity. In the absence of an
ambiguity there is no issue of interpretation to be decided by an
arbitrator. Rather, the court must give effect to the plain meaning

of the language at issue. See JFE Steel Corp. v. ICI Americas,
Inc., 797 F. Supp. 2d 452, 469 (D. Del. 2011) (citing and applying
Delaware law).

     Under Delaware law,      "clear and unambiguous language in a

contract should be given its ordinary and usual meaning. Mere

disagreement between the parties as to a contract s meaning does
not render a contract ambiguous." GIF Licensing, LLC v. Agere Sys.

LLC, C.A. No. 07-170-LPS, 2012 WL 6085368, at *4 (D. Del. Dec. 3,
2012) (quoting and citing Rhone-Poulenc Basic Chems. Co. y_;—Am_^
Motorists Ins. Co., 616 A.2d 1192, 1195-96 (Del. 1992)). Under
 Delaware law, "[a]n ambiguous term is defined as a term susceptible
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to two reasonable alternative interpretations." Falkenberq Capital

Corp. V. Dakota Cellular, Inc.,           925 F. Supp. 231, 236        (D. Del.

1996).3

       The pertinent       language in the Arbitration Policy is not

susceptible to two reasonable alternative interpretations and,
therefore,       is not ambiguous. A court applying Delaware law must

effectuate the unambiguous intent of the parties. See Lorillard

Tobacco Co. v. Am. Legacy Found., 903 A.2d 728, 739 (Del. 2006);

JFE Steel Corp., 797 F. Supp. 2d at 469. This principle means that

in this case the court must find that there is no question of

interpretation or arbitrability for an arbitrator to resolve.
Rather, the court has the authority to decide Optum's motion for

a   TRO.


       Contrary to        Smith's   contention,    this   conclusion    is   not
undermined by the Supreme Court's recent decision in Henry Schein,
Inc. et al. v. Archer and White Sales, Inc., No. 17-1272, 2019 WL

122164 (Jan. 8, 2019). Rather, it is reinforced by the reasoning

of Schein.




3 Massachusetts contract law is identical on this point. As the
First Circuit has explained, under Massachusetts law: "A contract
is not ambiguous simply because litigants disagree about its proper
interpretation." Weiss v. DHL Exp., Inc., 718 F.3d 39, 44-45 (1st
Cir. 2013) (citing FDIC v. Singh, 977 F.2d 18, 21 (1st Cir. 1992)).
Rather, "[a]mbiguity arises only if the language is susceptible of
more than one meaning and reasonably intelligent persons would
differ as to which meaning is the proper one." Id. (citing S. Union
Co. V. Dep't of Pub. Utils., 458 Mass. 812, 820 (2011)).
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      In Schein, the parties' contract provided for arbitration of

any dispute except, among other things, actions seeking injunctive

relief. JA. at *2. Plaintiff alleged violations of antitrust laws,

and sought both money damages and injunctive relief. JA. Plaintiff

also asserted that the contract delegated to the arbitrator the

decision as to whether a dispute was arbitrable. Id. at *4. The

Supreme Court held that a court may not override a contract even

if it finds the argument that the dispute is arbitrable is "wholly

groundless."                Rather, the Court wrote that "[w]e must interpret

the   [Federal Arbitration]             Act as written and the Act in turn

requires that we interpret the contract as written." Id. The Court
added that "parties may delegate threshold arbitrability questions

to the arbitrator, so long as the parties' agreement does so by

'clear and unmistakable' evidence." JA.                 (quoting First Options of

Chicago,      Inc.     v.    Kaplan, 514 U.S.    938,    944   (1995)).   The Court

remanded the case for a determination of whether the contract at

issue    in     fact        delegated    the   arbitrability     question    to   an

arbitrator.      JA.    at 6.

        In the instant case, in the Arbitration Policy the parties

clearly and unmistakably agreed that a court would have the
authority to issue temporary injunctive relief before compelling
arbitration. As the Supreme Court emphasized in Schein, judges are

"require[d] [to] interpret the contract as written." Id. at *4.
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This requirement is a reiteration of the law concerning unambiguous

contracts in Delaware and in Massachusetts as well.

       It is particularly necessary and proper to give effect to

Smith's employment contract as written in this case. At least seven

Courts of Appeals,      including the First Circuit and the Third

Circuit, have held that a district court has the inherent equitable

power to issue a preliminary injunction to preserve the status quo

pending   arbitration       in   order   to   protect   the   ability of     the

arbitrator to provide meaningful relief if the plaintiff prevails

in the arbitration.              Teradyne,    797 F.2d at 51; Blumenthal v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 910 F.2d 1049, 1053

(2d Cir. 1990); Ortho Pharm. Corp., 882 F. 2d at 812; Merrill
Lynch, Pierce, Fenner & Smith, Inc. v. Bradley, 756 F.2d 1048,
1050    (4th Cir.   1985);       Performance Unlimited,       Inc.   v.   Questar

Publishers,    Inc.,   52    F.Sd 1373,       1380   (6th Cir.   1995);    Sauer-

Getriebe KG v. White Hydraulics, Inc.,^ 715 F.2d 348, 351 (7th Cir.

1983); Toyo Tire Holdings of Americas. Inc. v. Cont'1 Tire N. Am.,

Inc., 609 F.3d 975, 981 (9th Cir. 2010); Merrill Lynch, Pierce,
Fenner & Smith, Inc. v. Button^ 844 F.2d 726, 726-28 (10th Cir.

1988);'' cf. Peabody Coalsales Co. v. Tampa Elec. Co., 36 F. 3d 46,


^ In its leading case on this issue, the Tenth Circuit held that
the district court had authority to issue injunctive relief to
preserve the status quo pending arbitration. See Merrill Lynch yj_
Button, 844 F.2d at 728. The court relied primarily on the terms
of the contract, but also cited Teradyne, 797 F.2d at 51, and some
of its progeny. Id.
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47-48    (8th Cir. 1994)The Supreme Court was not presented with

this issue in Schein. There is, however, no reason to expect that

it would disagree with the nearly uniform view of the Courts of

Appeal that have addressed this issue, particularly in this case
in which the parties agreed in their contract that "applicable

law" would apply to the granting of temporary injunctive relief.

        In view   of   the   foregoing,        the   court   finds   that   Smith's

employment contract provides it the authority and responsibility
to decide whether temporary injunctive relief is justified before

issuing an order compelling arbitration. To the limited extent
that Smith argues otherwise, his motion to compel arbitration
(Docket No. 16) is hereby DENIED, without prejudice to the issuance
of an order compelling arbitration after the motion for a TRO is
decided.




                                                UNITED STATES DISTRICT JUD(2E




5 The Eighth Circuit has held that a district court may issue
injunctive relief in an arbitrable dispute only if the contract
contains language providing for such relief. See Peabody Coalsales
Co., 36 F.3d at 47-48.



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